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                                UNITED STATES DISTRICT COURT

                               NORTHERN DISTRICT OF CALIFORNIA


 COUNTY OF SONOMA,
                                                   Case No. 18-cv-01419-VC
                  Plaintiff,

         v.                                        ORDER ADOPTING MAGISTRATE
                                                   JUDGE'S REPORT AND
 BENJAMIN PHILIP DIAZ CANNON,                      RECOMMENDATION
                  Defendant.                       Re: Dkt. Nos. 2, 6, 13




       The Court has reviewed Judge Sallie Kim's Report and Recommendation Re: Remand and

notes there are no objections to the Report. The Court adopts the Report in every respect.

Accordingly, the Motion to Remand is GRANTED, and the case is remanded to Sonoma County

Superior Court.

       IT IS SO ORDERED.
Dated: May 17, 2018
                                                ______________________________________
                                                VINCE CHHABRIA
                                                United States District Judge
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                               UNITED STATES DISTRICT COURT

                             NORTHERN DISTRICT OF CALIFORNIA


 COUNTY OF SONOMA,
                                                       Case No. 18-cv-01419-VC
                Plaintiff,

         v.                                            CERTIFICATE OF SERVICE

 BENJAMIN PHILIP DIAZ CANNON,
                Defendant.


       I, the undersigned, hereby certify that I am an employee in the Office of the Clerk, U.S.

District Court, Northern District of California.

       That on May 17, 2018, I SERVED a true and correct copy(ies) of the attached, by placing

said copy(ies) in a postage paid envelope addressed to the person(s) hereinafter listed, by

depositing said envelope in the U.S. Mail, or by placing said copy(ies) into an inter-office delivery

receptacle located in the Clerk's office.


Benjamin Philip Diaz Cannon
The Offices of Benjamin PD Cannon
4104 24th Street, Suite 403
San Francisco, CA 94114

Dated: May 17, 2018
                                                   Susan Y. Soong
                                                   Clerk, United States District Court



                                                   By:________________________
                                                   Kristen Melen, Deputy Clerk to the
                                                   Honorable VINCE CHHABRIA



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